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                         IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION
                                Case No. 1:23-md-03076-KMM

     IN RE:

     FTX Cryptocurrency Exchange Collapse Litigation

     This Document Relates To:

     Chernyavsky, et al. v. Temasek Holdings (Private) Limited, et al.
     Case No. 1:23-cv-22960 (S.D. Fla.)

     Cabo, et al. v. Temasek Holdings (Private) Limited, et al.
     No. 1:23-cv-23212 (S.D. Fla.)



                   DECLARATION OF MATTHEW GRAHAM IN SUPPORT OF
                   DEFENDANT SINO GLOBAL CAPITAL HOLDINGS, LLC’S
                                MOTION TO DISMISS

             I, MATTHEW GRAHAM, being over the age of 21, hereby declare as follows:

    1.       I am the managing member of Defendant Sino Global Capital Holdings, LLC (“SG

    Capital Holdings”). I have personal knowledge of all of the following facts and, if called as a

    witness, could and would competently testify thereto.

    2.       On August 11, 2023, SG Capital Holdings, via its registered agent CSC, received a notice

    regarding tag-along actions.

    3.       On August 14 and 16, 2023, SG Capital Holdings, via CSC, received the Complaint in

    Cabo, et al. v. Temasek Holdings (Private) Limited, et al., No. 3:23-cv-03974 (N.D. Cal.).

    4.       On August 16, 2023, SG Capital Holdings, via CSC, received the Complaint in

    Chernyavsky, et al. v. Temasek Holdings (Private) Limited, et al., Case No. 1:23-cv-22960 (S.D.

    Fla.).
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    5.     On August 16, 2023, SG Capital Holdings, via CSC, received a Notice of Filing of

    Conditional Transfer Order.

    6.     To date, SG Capital Holdings has not been served with the Corrected Administrative

    Class Action Complaint and Demand for Jury Trial in In re: FTX Cryptocurrency Exchange

    Collapse Litigation, Case No. 1:23-md-03076-KMM, ECF No. 182, the operative pleading

    against SG Capital Holdings.




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            I declare under penalty of
                                    of perjury under the laws of
                                                              of the United States
                                                                            States of
                                                                                   of America that the

            foregoing
             foregoing is
                       is true
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